                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                                 3:91CR86-2-MU

UNITED STATES OF AMERICA            )
                                    )
vs.                                 )                         ORDER
                                    )
CLYNTON CHASE,                      )
                                    )
                  Defendant.        )
____________________________________)

       THIS MATTER is before the Court upon Defendant’s Motion to Reduce Sentence.

Defendant states, and the Government does not contest, that Amendment 505 to the United States

Sentencing Guidelines applies retroactively, and would result in a lower sentence for the Defendant

if applied to him. As it appears that Defendant is entitled to such a reduction pursuant to Amendment

505 and 18 U.S.C. § 3582(c)(2), and as the factors in 18 U.S.C. § 3553(a), particularly § 3553(a)(6),

warning against unwarranted disparity between defendants similarly situated, support such a

reduction, this motion is hereby GRANTED. The United States Probation Office for the Western

District of North Carolina is hereby directed to prepare a new Pre-Sentencing Report, and Defendant

will be scheduled for re-sentencing once this report has been completed.

       IT IS SO ORDERED.

                                                 Signed: July 11, 2006




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